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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:
                                                       CHAPTER 7
 AVEUM INVESTMENTS, LLC,
                                                       CASE NO. 19-60303-jwc
         Debtor.

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 CATHY L. SCARVER, Chapter 7
 Trustee,

        Plaintiff,

 v.                                                    ADVERSARY PROCEEDING NO.
                                                       20-6012-jwc
 U.S. BANCORP D/B/A U.S. BANK,
 N.A. as Trustee for VELOCITY
 COMMERCIAL CAPITAL LOAN
 TRUST 2018-1,

         DEFENDANT.


                   VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        COME NOW the undersigned parties, pursuant to the provisions of Fed. R. Bankr.

P. 7041, hereby stipulate to the dismissal without prejudice of Plaintiff’s claims asserted in

the Complaint in the above-captioned adversary proceeding against Defendant, with each

party to bear their own costs.
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      Dated: March 13, 2020

      Respectfully submitted by,

                                                SMALL HERRIN, LLP

                                                  /s/ Anna M. Humnicky
                                                       Anna M. Humnicky
                                                       Georgia Bar No. 377850
                                                2727 Paces Ferry Rd
                                                Building 2, Suite 200
                                                Atlanta, GA 30339
                                                (770) 857-4770
                                                ahumnicky@smallherrin.com

                                                Counsel for Cathy L. Scarver, Chapter 7
                                                Trustee

Consented to by:

RUBIN LUBLIN, LLC

  /s/ Bret J. Chaness (signed by Anna M. Humnicky
with express permission)
       BRET J. CHANESS
       GA Bar # 720572
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(678) 281-2730 (Telephone)
(404) 921-9016 (Facsimile)
bchaness@rubinlublin.com

Counsel for U.S. Bancorp d/b/a U.S. Bank, N.A. as Trustee for Velocity Commercial
Capital Loan Trust 2018-1




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                         UNITED STATES BANKRUPTCY COURT
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 IN RE:
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         Debtor.

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 CATHY L. SCARVER, Chapter 7
 Trustee,

        Plaintiff,

 v.                                                           ADVERSARY PROCEEDING NO.
                                                              20-6012-jwc
 U.S. BANCORP D/B/A U.S. BANK,
 N.A. as Trustee for VELOCITY
 COMMERCIAL CAPITAL LOAN
 TRUST 2018-1,

         DEFENDANT.


                                  CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify under penalty of perjury that I am over the age of
18 and that on March 13, 2020, I electronically filed the foregoing document with the Clerk
of Court using the Court’s CM/ECF system which automatically sent a Notice of Electronic
Filing to the following:

   Bret J. Chaness, Counsel for U.S. Bancorp d/b/a U.S. Bank, N.A. as Trustee for
Velocity Commercial Capital Loan Trust 2018-1 - bchaness@rubinlublin.com

       I further certify that I served the foregoing document on March 13, 2020, via U.S.
First Class Mail, to the following:



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     U.S. Bancorp, d/b/a U.S. Bank, N.A., as Trustee for Velocity Commercial Capital
     Loan Trust 2018-1
     c/o Andrew Cecere, its Chairman, President & Chief Executive Officer
     U.S. Bancorp Center
     800 Nicollet Mall
     Minneapolis, MN 55402-7014

     Dated: March 13, 2020.

                                       By: /s/ Anna M. Humnicky
                                              Anna M. Humnicky
                                              Georgia Bar No. 377850
                                              Small Herrin, LLP
                                              2727 Paces Ferry Rd.
                                              Building 2, Suite 200
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                                               Trustee




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